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                          THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

     PAMELA BERMUDEZ,

            Plaintiff,                                     CASE NO. 1:10-cv-20299

     v.

     ALLIANCE ONE, INC.,

           Defendant.
     _____________________________________/

                                  NOTICE OF SETTLEMENT

            NOW COMES the Plaintiff, PAMELA BERMUDEZ, by and through the

     undersigned counsel and hereby informs the court that a settlement of the present matter

     has been reached and all parties to the present matter are currently in the process of

     executing the aforementioned settlement agreement, which Plaintiff anticipates will be

     completed within the next 30 days.

            Plaintiff therefore requests that this honorable court vacate all dates currently set

     on calendar for the present matter.

                                             Respectfully Submitted,


     DATED: June 16, 2010                         KROHN & MOSS, LTD.

                                           By: /s/ James Pacitti                    _
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